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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MASSACHUSETTS


T.C.,                                        )
        Petitioner,                          )
                                             )
        v.                                   )       No. 24-cv-12458-ADB
                                             )
BRIAN A. KYES, United States Marshal,        )
District of Massachusetts,                   )
      Respondent1                            )

              GOVERNMENT’S RESPONSE TO T.C.’S AMENDED PETITION
                FOR HABEAS CORPUS PURSUANT TO 28 U.S.C. § 2241

         The Republic of Türkiye (“Türkiye”) seeks the extradition of T.C. pursuant to the Treaty

on Extradition and Mutual Assistance in Criminal Matters Between the United States of America

and the Republic of Turkey, U.S.-Turk., June 7, 1979, 32 U.S.T. 3111 (the “Treaty”), so that he

may be prosecuted for the charge of Causing Reckless Killing and Injury, in violation of Article

85 of the Criminal Code of Türkiye. T.C. is accused of killing one person and injuring four others

when he crashed into them while driving his mother’s Porsche without a driver’s license late at

night on March 1, 2024 on a dark and winding road at a speed approximately 87 miles per hour

above the speed limit. Within hours of the crash, T.C. and his mother fled Türkiye for the United

States, via Cairo, Egypt.

         On February 11, 2025, Chief U.S. Magistrate Judge Donald L. Cabell issued a 38-page

Order denying T.C.’s motion to dismiss and holding that he would certify T.C.’s extradition to the

Secretary of State. T.C. now seeks habeas relief under 28 U.S.C. § 2241 and requests that the Court



         1
          This action incorrectly names Brian A. Kyes, U.S. Marshal for the District of
Massachusetts, as respondent. The proper respondent is T.C.’s immediate custodian, Sako Long,
Regional Director, Northeast Region, Commonwealth of Massachusetts Department of Youth
Services. This misnomer does not affect the parties’ substantial rights.
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reverse the denial of his motion to dismiss and vacate the certificate of extraditability on the sole

ground that he has not “been charged with an offense” under the Treaty. Because T.C.’s narrow

reading of the Treaty is inconsistent with the text of the Treaty and case law interpreting similar

language, his habeas petition should be denied.

                                        BACKGROUND

I.     Legal Background

       “In the United States, the procedures for extradition are governed by statute.” United States

v. Kin-Hong, 110 F.3d 103, 109 (1st Cir. 1997). These statutes, 18 U.S.C. §§ 3181 et seq., establish

“a two-step procedure which divides responsibility for extradition between a judicial officer and

the Secretary of State.” Id. (footnote omitted). “This bifurcated procedure reflects the fact that

extradition proceedings contain legal issues peculiarly suited for judicial resolution, such as

questions of the standard of proof, competence of evidence, and treaty construction, yet

simultaneously implicate questions of foreign policy, which are better answered by the executive

branch.” Id.

       Under 18 U.S.C. § 3184, the judicial officer serving as the extradition court—here, the

Magistrate Judge—“upon complaint, issues an arrest warrant for an individual sought for

extradition” and then conducts a hearing to determine if “the evidence [is] sufficient to sustain the

charge under the provisions of the proper treaty.” Specifically, the extradition court determines

whether (1) it is authorized to conduct the extradition, (2) it has jurisdiction over the fugitive,

(3) the applicable treaty is in full force and effect, (4) the treaty covers the offenses for which

extradition is sought, and (5) there is probable cause to believe the fugitive committed the alleged

offenses. See 18 U.S.C. § 3184; Zanazanian v. United States, 729 F.2d 624, 626 (9th Cir. 1984).

If the Court finds that the requirements for certification are satisfied, it shall provide the



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certification to the Secretary of State, together with a copy of any testimony taken before the Court,

and it shall order the fugitive detained to await the Secretary’s final determination regarding

surrender. 18 U.S.C. § 3184; see also Martin v. Warden, Atlanta Pen., 993 F.2d 824, 828 (11th

Cir. 1993). The Secretary will then decide whether to surrender the fugitive to the requesting

country. 18 U.S.C. §§ 3184, 3186; Escobedo v. United States, 623 F.2d 1098, 1105 (5th Cir. 1980)

(“The ultimate decision to extradite is a matter within the exclusive prerogative of the Executive

in the exercise of its powers to conduct its foreign affairs.”) (citations omitted).

       A fugitive cannot directly appeal a certification order, but may seek limited review by filing

a petition for writ of habeas corpus. See, e.g., Kin-Hong, 110 F.3d at 107-108 & n.3; Koskotas v.

Roche, 931 F.2d 169, 171 (1st Cir. 1991).

II.    Factual Background2

       According to Turkish authorities, on the night of March 1, 2024, T.C. was driving a Porsche

owned by his mother, Eylem Tok. Ex. C at 4, 6, 19, 29, 38, 42, 44, 47, 55. In addition to T.C.,

there were three passengers in the car: one in the front, A.K., and two in the back, A.A. and B.A.

Id. at 4, 6-7, 39, 40, 42-43, 45, 47. T.C.’s friend, D.O.O., was driving another vehicle, also with

passengers, directly behind T.C.’s vehicle. Id. at 7, 38-39, 45. According to statements provided

by T.C.’s friends to Turkish authorities, around 11:20 p.m., T.C. suddenly began driving his

vehicle faster after they passed a speed bump in the road. Id. at 5, 25, 27, 29, 38. While the speed

limit on the road was 30 kilometers per hour (approximately 18 miles per hour), T.C. was driving

170-180 kilometers per hour (approximately 105 to 111 miles per hour). Id. at 5-6, 37. The

passengers requested that T.C. slow down, but he did not do so. Id. at 6-7, 40, 43. The passengers


       2
         The facts in this section are taken from Türkiye’s Request for the Extradition of T.C.
(“Extradition Request”), a redacted copy of which is filed as Exhibits A through C hereto. An
unredacted copy was filed under seal at Dkt. 18-2.

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then put on their seat belts “just in case.” Id. at 40. T.C.’s vehicle approached a curve in the road,

and according to T.C.’s friends, T.C. was driving too fast through the bend. Id. at 6-7, 39-41, 43.

At the same time, five individuals with all-terrain vehicles (“ATVs”) had stopped on the right side

of the road just past the bend, where they were trying to fix one of the ATVs that had broken down.

Id. at 5, 13, 15-16, 18. In an attempt to avoid hitting the people on the side of the road, T.C.

suddenly turned the steering wheel to the left, but the sudden turn caused the car to skid and crash

into them. Id. at 6-7, 39-41, 43. T.C.’s car ended up in a water channel on the other side of the road

and the airbags deployed. Id. at 6-7, 39, 41, 43, 45. After the crash, T.C. and his passengers got

out of the vehicle. Id. Two of the ATV riders (I.G. and H.T.) were lying on the side of the road,

two (S.K. and O.M.A.) had been knocked down a cliff, and one (T.A.) was under T.C.’s car. Id. at

5, 7, 13, 16, 39, 41, 43, 45. O.M.A. died from internal bleeding as a result of the crash; T.A.

suffered life-threatening injuries; I.G. was in shock, lost consciousness, and suffered serious

injuries; H.T. was injured and lost consciousness; and S.K. was also injured. Id. at 4-5, 13, 16, 18.

After the crash, witnesses reported hearing T.C. repeatedly say, “My life is over.” Id. at 7, 41, 43.

         According to witnesses, T.C. and his friends had been driving around for some time before

the crash and had stopped at a liquor store to buy cigarettes. Id. at 38-39, 44-45. None of the

passengers in T.C.’s or D.O.O.’s vehicles reported to authorities that T.C. had been intoxicated,

although T.C. fled the scene before any tests could be performed. Id. at 7. A mechanical engineer

examined the Porsche that T.C. was driving and found no mechanical issues that would have

caused the car to malfunction. Id. at 37. Neither T.C. nor his friends had driver’s licenses. Id. at 6-

7, 45.

         Immediately after the crash, T.C. called his personal driver and Tok. Id. at 39, 45. About

ten minutes later, T.C.’s mother, Eylem Tok, arrived at the scene and took T.C. and two of his



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friends, D.O.O. and A.K., home. Id. T.C. then fled Türkiye. Id. at 7. Surveillance footage at the

airport reflects that T.C. and Tok arrived at the airport by 2:11 a.m. on March 2, 2024, barely three

hours after the crash. Id. at 49. T.C. and Tok traveled to Cairo and continued on to the United

States, landing in New York later that day. Id. at 4, 7, 51-52.

III.    Procedural Background

        On March 7, 2024, a judge of the Istanbul 7th Criminal Judgeship of Peace issued an arrest

warrant for T.C. for the offense of Causing Reckless Killing and Injury. Ex. C at 59. The arrest

warrant lists, “Offense Charged Against the Accused: Causing Reckless Killing and Injury.” Id.

The judge issued the arrest warrant after examining the investigation file and finding “the existence

of strong suspicion pointing to commission of an offence, the child pushed to offence committed

the offence imputed on him and there has been a reason for detention.” Id. at 57. The judge further

found, “By taking into consideration the sanctions . . . for the offence . . . upper limit of the penalty

and concrete evidence in the file pointing to commission of the offence by the child [T.C.], it has

been decided to issue an arrest warrant for the child to detain him . . . .” Id.

        On April 3, 2024, Türkiye transmitted its Extradition Request. Ex. A at 4. The certificate

accompanying the Extradition Request, signed by the U.S. Ambassador to Türkiye and bearing the

seal of the U.S. Embassy at Ankara, states that T.C. was “charged with the crime of causing

reckless killing and injury.” Id. at 44. After vetting by attorneys at the Departments of State and

Justice, the Southern District of Florida swore out a complaint for the extradition of T.C. on the

charge of Causing Reckless Killing and Injury, and a magistrate judge in that district issued a

warrant for T.C.’s arrest. Exs. D & E. T.C. was arrested in Boston on June 14, 2024.

        In October 2024, the Magistrate Judge held an extradition hearing under 18 U.S.C. § 3184.

After holding that hearing and considering the parties’ extensive briefing, the Magistrate Judge



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held that he would certify T.C.’s extradition to the Secretary of State under 18 U.S.C. § 3184. Dkt.

18-1 at 1, 38. Among other things, the Magistrate Judge found that (1) he had authority to conduct

the extradition proceeding, (2) the court had jurisdiction over T.C. because he was arrested in

Massachusetts, (3) the Treaty was in full force and effect, (4) the charge of Causing Reckless

Killing and Injury, in violation of Article 85 of the Turkish Criminal Code, was covered by the

Treaty, and (5) there was probable cause that T.C. committed the offense of Causing Reckless

Killing and Injury. In reaching these conclusions, the Magistrate Judge rejected T.C.’s argument

that his conduct did not cause O.M.A.’s death, instead finding “the evidence is overwhelming that

T.C. caused the death of O.M.A.” Dkt. 18-1 at 33. The Magistrate Judge also rejected T.C.’s

contention that Türkiye was seeking his extradition for “a possible, yet-to-be-determined

prosecution,” and instead found, consistent with case law considering similarly worded treaties,

that the Treaty does not require that T.C. be formally charged with an offense, because the term

“charged” is “synonymous with accused,” and “the arrest warrant, prosecutor’s report, and other

documents in the extradition file establish that T.C. is accused of committing the article 85

offense.” Id. at 20-31.

       On February 25, 2025, T.C. filed his Amended Habeas Petition, and on March 10, 2025,

supplemented that petition with a memorandum of law. Dkts. 18, 22. While raising irrelevant and

obsolete arguments about T.C.’s prior detention at the Manson Youth Institution in Cheshire,

Connecticut and the Essex Juvenile Detention Center in Newark, New Jersey—where T.C. has not

been held since October 2024—T.C. ultimately challenges only one of the Magistrate Judge’s

findings: that T.C. is “being prosecuted for or [has] been charged with an [extraditable] offense”

in compliance with Article 1 of the Treaty. As explained below, T.C.’s argument imputes a




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requirement that does not exist in the Treaty and has been repeatedly and consistently rejected by

courts considering similar treaty provisions.

                                           ARGUMENT

I.     Standard of Review

       In the extradition context, habeas corpus review is available “only to inquire [1] whether

the magistrate had jurisdiction, [2] whether the offense charged is within the treaty and [3], by a

somewhat liberal extension, whether there was any evidence warranting the finding that there was

reasonable ground to believe the accused guilty.” Fernandez v. Phillips, 268 U.S. 311, 312 (1925)

(emphasis added); see also Kin-Hong, 110 F.3d at 110. This review is “not meant to be ‘a means

for rehearing what the magistrate already decided.’” Koskotas, 931 F.2d at 171 (quoting In re

Extradition of Manzi, 888 F.2d 204, 205 (1st Cir. 1989) (quoting Fernandez, 268 U.S. at 312)).

       Where, as here, the Court must interpret the requirements of the Treaty, the first step is to

begin with its text. Medellin v. Texas, 552 U.S. 491, 506-07 (2008) (citing Air France v. Saks, 470

U.S. 392, 396-97 (1985)). Unlike criminal statutes, extradition treaties are to be construed liberally

in order to effectuate their purpose, namely, the surrender of fugitives to the requesting country.

See Factor v. Laubenheimer, 290 U.S. 276, 303 (1933) (“Extradition treaties are to be liberally,

not strictly, construed.”); In re Extradition of Nezirovic, No. 12-mc-00039, 2013 WL 5202420, at

*5 (W.D. Va. Sept. 16, 2013) (“Treaties are construed liberally to favor the obligation to surrender

fugitives.”) (citation omitted). Further, deference is owed to the treaty partners on the meaning of

the terms in a treaty. See, e.g., Kolovrat v. Oregon, 366 U.S. 187, 194 (1961) (giving deference to

the interpretation of a treaty provision as set forth in diplomatic notes exchanged between the

responsible agencies of the United States and Yugoslavia); Arias Leiva v. Warden, 928 F.3d 1281

(11th Cir. 2019) (finding that the U.S.-Colombia extradition treaty was in full force and effect



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because, inter alia, both the United States and Colombia understand it to be in effect); see also BG

Group, PLC v. Republic of Argentina, 572 U.S. 25, 37 (2014) (courts must “give ‘the specific

words of [a] treaty a meaning consistent with the shared expectations of the contracting parties.’”)

(quoting Air France, 470 U.S. at 399). Even where a treaty’s text is ambiguous, if it “reasonably

accommodates” the government’s construction, the court “defers to that construction whether or

not it is a construction we would adopt de novo.” Aguasvivas v. Pompeo, 984 F.3d 1047, 1058 (1st

Cir. 2021) (citing Kin-Hong, 110 F.3d at 110).

II.    The Treaty Does Not Require Formal Charges

       Nothing in the Treaty requires Türkiye to issue a formal charge, such as an indictment or

criminal complaint, before T.C. can be extradited. Article 1 of the Treaty provides for the

extradition of persons “who are being prosecuted for or have been charged with an offense, or

convicted of an offense, or are sought by the other Party for the enforcement of a judicially

pronounced penalty for an offense . . . .” Ex. A at 8. There is no reference to formal charges or

indictment. If formal charges were required to obtain extradition in a pre-conviction case, such as

this one, there would be no need for Article 1 to expressly cover both individuals “who are being

prosecuted” and “who have been charged.” Indeed, the alternative phrasing of the treaty language

signals that the treaty partners intended to allow for extradition of a person who has been charged

with an offense irrespective of whether the person is being prosecuted for the offense. See

Aguasvivas, 984 F.3d at 1058 (declining to adopt interpretation that would render treaty language

“entirely superfluous”).

       As the Magistrate Judge found, this interpretation is consistent with the plain meaning of

the verb “to charge”: “[t]o accuse (a person) of an offense.” Charge (vb.), Black’s Law Dictionary

(12th ed. 2024). The Arrest Warrant and supporting decision make clear that T.C. is accused of



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committing the offense of Causing Reckless Killing and Injury. Ex. C at 57-59. In arguing to the

contrary, T.C. relies on the meaning of the noun “charge,” which is a “formal accusation of an

offense as a preliminary step to prosecution.” Charge (n.), Black’s Law Dictionary (12th ed. 2024).

But Article 1 does not refer to “a charge,” the noun, but rather to persons who “have been charged,”

the verb—in other words, persons, like T.C., who have been accused of an offense.

       The omission of any reference to a charging document in Article 7 of the Treaty, which

lists the items that must be included in the extradition request, further confirms this reading. Ex.

A at 13-14 (extradition request must contain the warrant for arrest, a statement of the facts,

evidence sufficient to justify arrest and committal for trial, evidence sufficient to establish that the

person sought is the person named in the warrant, and the text of the laws governing the offense,

punishment, and statute of limitations). As the Magistrate Judge found, “the fact that Türkiye and

the United States in the Treaty did not require the extradition file to contain any document

regarding a charge in Article 7 reinforces that they did not intend to require the fugitive to be

formally charged in Article 1.” Dkt. 18-1 at 23 (citing Emami v. U.S. Dist. Ct., 834 F.2d 1444,

1448, n.3 (9th Cir. 1987)); see also Manrique v. Kolc, 65 F.4th 1037, 1043 (9th Cir. 2023) (“our

rules of interpretation militate against reading in a requirement of particular formal charges where

the treaty makes no such specification”).3




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         T.C.’s concern about the “rule of specialty” (that an extraditee can only be prosecuted or
punished for the specific offenses for which they were extradited), Dkt. 22 at 6, is without merit.
Türkiye’s extradition request specifically states that, if the U.S. government does not consent, T.C.
“shall not be tried for any offense other than the one which is subjected to the extradition
procedure”—here, Causing Reckless Killing and Injury in violation of Article 85 of the Turkish
Criminal Code. Ex. C at 9.

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       Every circuit to consider arguably less flexible language in extradition treaties has

concluded that formal charges are not required and that extradition for further investigation and

prosecution is permissible.

       As a matter of first impression, the Seventh Circuit found that similar language in the U.S.-

Sweden Extradition Treaty did not require formal charges. Matter of Assarsson, 635 F.2d 1237

(7th Cir. 1980), cert. denied 451 U.S. 938 (1981). The extradition request in Assarsson included

an arrest warrant issued by a Swedish court, although no formal charging document had yet been

filed. Id. at 1239. Like the Treaty here, the treaty in Assarsson provided for the extradition of

“those persons found in its territory who have been charged with or convicted of any of the

offenses specified in Article II . . . .” Id. (quoting U.S.-Sweden Treaty) (emphasis added). The

Seventh Circuit found that the “word ‘charge’ is thus used in contrast to ‘convicted’” and the term

“charged” “is used in the generic sense only to indicate ‘accused.’” Id. The court found that the

documents that must accompany the extradition request—including a “‘duly certified or

authenticated copy of the warrant of arrest or other order of detention’”—did not include a formal

charging document. Id. at 1243 (quoting U.S.-Sweden Treaty). The absence of a requirement that

the requesting party provide a copy of a charging document in the extradition request led the court

to conclude that formal charges were not a prerequisite to extradition. Id.4


       4
           T.C. suggests—without any citation—that two-thirds of the U.S. Senate and President
Carter could not have intended to permit extradition “for anything less than an ongoing criminal
prosecution or formal charge” and that the U.S. signatories to the Treaty “purposefully used the
terms ‘charged’ or ‘being prosecuted’ in the sense understood within U.S. criminal law,” which
T.C. argues means formal charges. Dkt. 22 at 7-8. But notably, Assarson, decided one year after
the Treaty was initially signed and before the Treaty entered into force on January 1, 1981, see Ex.
A at 5, held that a treaty with nearly identical language requiring extradition of persons who “have
been charged” did not require formal charges, in part because “charged” was used in the generic
sense only to indicate ‘accused.’” 635 F.2d at 1239. In other words, at the time the Treaty was
ratified, the word “charged” in U.S. criminal law was understood to mean simply accused, and still
is. Charge (vb.), Black’s Law Dictionary (12th ed. 2024).

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       In Emami, the Ninth Circuit relied on the reasoning of Assarsson to hold that an individual

sought for “‘detention for investigation’” without formal charges could be extradited under the

terms of the U.S.-Germany Extradition Treaty. 834 F.2d at 1446. That treaty provided for the

extradition of persons “‘who have been charged with an offense or are wanted by the other

Contracting Party for the enforcement of a judicially pronounced penalty or detention order . . . .’”

Id. at 1448 (quoting U.S.-Germany Treaty) (emphasis added). Like the treaties here and in

Assarsson, the U.S.-Germany Treaty required the requesting party to include in the extradition

request the arrest warrant but not a formal charging document. Id.

       The Second Circuit weighed in on this issue in Sacirbey v. Guccione, 589 F.3d 52 (2d Cir.

2009). There, the U.S.-Serbia Extradition Treaty “authorize[d] the extradition of an individual who

has been ‘charged’ with a crime.” Id. at 54 (quoting U.S.-Serbia Treaty) (emphasis added). Despite

that “Bosnia had failed to charge him formally with an extraditable offense,” the Second Circuit

agreed that the interpretation of “charged” did not require a formal charging document because “it

gives meaning to treaty language stating that an individual must be ‘charged’ with an offense in

order to be extradited, while avoiding unwarranted incursions into the fine details of foreign

criminal procedure.” Id. at 65.5 Ultimately the Second Circuit held Sacirbey was not extraditable,

not because formal charges were lacking, but because the Bosnian court that issued his arrest

warrant had been dissolved, and thus Bosnia could not satisfy the requirement of providing a valid

arrest warrant with the extradition request. Id. at 66-67.

       In Manrique, the Ninth Circuit went even further and held that the U.S.-Peru Extradition

Treaty, which required Peru to submit “a copy of the charging document” with its extradition


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         Similarly, the Ninth Circuit chose not to wade into whether there had been compliance
with foreign criminal procedure in Emami “both out of respect for German sovereignty and
because we recognize the chance of erroneous interpretation.” 834 F.2d at 1449.

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request, still did not mandate a “formal charge” because the treaty there provided for extradition

of persons “‘the authorities in the Requesting State have charged with, found guilty of, or

sentenced for, the commission of an extraditable offense.’” 65 F.4th at 1041-43 (quoting U.S.-Peru

Treaty) (emphasis added). Because “the ordinary meaning of the verb ‘charge’ is to generally

accuse someone of a crime,” the “charging document” requirement of the U.S.-Peru Treaty, which

“specifie[d] no particular document,” was satisfied by a document that identified the crimes the

fugitive was accused of and summarized the supporting evidence. Id.

       Although in dicta, the First Circuit commented on this issue in Aguasvivas, 984 F.3d at

1060. There, the court stated, “we readily agree with the holdings and the rationale in both Emami

and Assarsson” and “we could rule for the government in this case were the language of this treaty

materially similar to the language of those treaties.” Id. However, the language in the U.S.-

Dominican Republic Extradition Treaty at issue in Aguasvivas is materially different from the

treaties addressed in Assarsson and Emami and the U.S.-Türkiye Treaty. The U.S.-Dominican

Republic Treaty required, in addition to an arrest warrant, “‘a copy of the document setting forth

the charges against the person sought.’” Id. at 1055 (quoting U.S.-Dominican Republic Treaty)

(emphasis added). In considering whether an arrest warrant could do double duty, the First Circuit

held that such a reading “would render superfluous a relatively bespoke requirement” of a separate

document setting forth the charges—a requirement not present in the U.S.-Türkiye Treaty.

       The Fourth Circuit’s decision in Vitkus v. Blinken, 79 F.4th 352 (4th Cir. 2023), does not

change the analysis. There, the U.S.-Lithuania Extradition Treaty specifically required “‘a copy of

the charging document.’” Id. at 363 (quoting U.S.-Lithuania Treaty). In the face of this explicit

requirement, the Fourth Circuit found that the treaty “requires a discrete document that initiates

criminal charges.” Id. at 363. In contrast, there is no such provision in the U.S.-Türkiye Treaty.



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        T.C. attempts to distinguish this line of case law by suggesting that Türkiye has not

expressed an intent to prosecute T.C. Dkt. 22 at 9-10. In making this argument, T.C. relies on Al-

Nouri v. Blinken, No. 22-cv-00633-PHX-GMS, 2024 WL 4436612 (D. Ariz. Oct. 7, 2024). There,

consistent with the Magistrate Judge’s holding and the cases cited above, the court rejected the

fugitive’s contention that formal charges were required where the U.S.-Iraq Extradition Treaty

provided for extradition of “‘any person charged with or convicted of’” crimes specified in the

treaty. Id. at *9 (quoting U.S.-Iraq Treaty) (emphasis added). The fugitive conceded as much, but

nevertheless argued that Iraq had incorrectly “interpreted ‘charge’ to mean more broadly the act

of ‘investigation.’” Id. at *10 (internal quotation marks omitted). The court rejected this argument

and found that Iraq intended to prosecute the fugitive (and had thus not misconstrued “‘charge’ to

mean anything other than accuse”) based on an arrest warrant coupled with a case summary that

“explicitly states that, ‘[b]ased on the conducted investigations, the available evidence indicates

that the crimes were committed by [Petitioner] . . . .” Id. (brackets and ellipsis in original).

Similarly here, the arrest warrant for T.C. listing the “Offense Charged” coupled with the Istanbul

7th Criminal Judgeship of Peace’s order stating “the existence of strong suspicion pointing to

commission of an offence, the child pushed to offence committed the offence imputed on him and

there has been a reason for detention,” Ex. C at 57-59, demonstrate Türkiye’s intent to prosecute

T.C.

        Accordingly, T.C.’s argument that Türkiye is seeking his extradition merely for

questioning is without merit. To the extent Türkiye’s extradition request references needing to

conclude the investigation, the Turkish prosecutor should not be penalized for wanting to gather




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all the relevant evidence—including T.C.’s statement—before instituting formal charges.6

Likewise, T.C. and his mother should not be rewarded for fleeing and thus preventing the

prosecutor from obtaining this evidence. Further, that Türkiye has previously sought the

extradition of individuals who have either been already indicted or convicted, see Dkt. 22 at 10-

11, as permitted by the Treaty, does not undermine the fact that the Treaty does not require formal

charges.7

                                          CONCLUSION

       For the foregoing reasons, the Court should deny T.C.’s petition.



                                                               Respectfully submitted,

                                                               LEAH B. FOLEY
                                                               United States Attorney

                                                      By:      /s/ Kristen A. Kearney
                                                               KRISTEN A. KEARNEY
                                                               Assistant U.S. Attorney




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         Indeed, as demonstrated by the holdings of the cases cited above, it is not uncommon for
foreign countries to bring formal charges only after the fugitive returns to that country.
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          In support of his argument that formal charges are required, T.C. also cites two out-of-
district magistrate judge decisions holding that the extradition court must determine “whether
charges are pending against the person to be extradited in the requesting nation.” See Dkt. 22 at 5.
The first case, In re Extradition of Salas, 161 F. Supp. 2d 915, 923 (N.D. Ill. 2001), is a magistrate
judge decision that states this requirement without citation. The second case, In re Extradition of
Sidali, 899 F. Supp. 1342, 1346 (D.N.J. 1995), is another magistrate judge decision stating the
same requirement, but citing two cases: Bingham v. Bradley, 241 U.S. 511, 516-17 (1916), and
Gallina v. Fraser, 177 F. Supp. 856, 860 (D. Conn. 1959), aff’d, 278 F.2d 77 (2d Cir. 1960), cert.
denied, 364 U.S. 851 (1960). However, neither Bingham nor Gallina establish or even discuss
whether the extradition court must find the existence of formal, pending charges against the
fugitive.

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                                CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent electronically
to the registered participants as identified on the Notice of Electronic Filing (NEF).

                                                     /s/ Kristen A. Kearney
                                                     KRISTEN A. KEARNEY
                                                     Assistant U.S. Attorney
       Dated: March 31, 2025




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